                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

RICHARD A. JOHNSON and                        )
C. DALE ALLEN, in their official              )
capacity as TRUSTEES                          )
                                              )
        Plaintiffs,                           )              No. 3:11-0866
                                              )              Magistrate Judge Bryant
v.                                            )
                                              )
PRUDENTIAL INSURANCE                          )
COMPANY OF AMERICA, INC.                      )
                                              )
        Defendant.                            )


                                            ORDER

        This civil action is before the undersigned for all further district court

proceedings, pursuant to the consent of all parties. (Docket Entry No. 54)

        Currently pending is defendant Prudential Insurance Company of America, Inc.’s

Motion to Dismiss Plaintiffs’ Second Amended Complaint. (Docket Entry No. 49) For the

reasons given in the Memorandum accompanying this Order, that motion is hereby

GRANTED, and Plaintiffs’ Second Amended Complaint is DISMISSED. Any other pending

motions are terminated as moot.

        This Order constitutes the final judgment in this case.



                So ORDERED.


                                                      s/ John S. Bryant
                                                     JOHN S. BRYANT
                                                     UNITED STATES MAGISTRATE JUDGE



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